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  1                        UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
  2
                              CASE NO. 20-CV-24267-DPG
  3
       DR. MELISSA SELINGER,
  4                                             Miami, Florida
                         Plaintiff(s),
  5                                             July 16, 2021
                   vs.
  6
       KIMERA LABS, INC., et al.,
  7
                      Defendant(s).       Pages 1 - 66
  8    -----------------------------------------------------------

  9                             DISCOVERY HEARING
                     TRANSCRIBED FROM DIGITAL AUDIO RECORDING
10                     BEFORE THE HONORABLE EDWIN G. TORRES
                          UNITED STATES MAGISTRATE JUDGE
11
       APPEARANCES:
12
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  1    APPEARANCES (CONT'D)

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  1    Thereupon,

  2    the following proceedings were held via Zoom videoconference:
  3               THE DEPUTY CLERK:    Calling case Selinger v. Kimera

  4    Labs, Inc., et al., case No. 20 24267, civil, Gayles.

  5               Counsel, will please state your appearance for the

  6    record.

  7               MR. M. BURTON:    Good morning.    Here on behalf of the

  8    plaintiff, the person speaking is Marc Burton.         I'm joined by

  9    my cocounsel Richard Burton and my other cocounsel Adam

10     Schwartzbaum, of the Moskowitz Law Firm, separate law firm than

11     mine.

12                MS. HUEBER:    Elizabeth Hueber for Kimera Labs, Inc.

13     and Dr. Duncan Ross, and I'm joined by Mr. Peter Mavrick, also

14     counsel for Kimera Labs and Duncan Ross.

15                MR. MAVRICK:    Good morning, your Honor.

16                THE COURT:    Good morning.

17                MR. WEINBERG:    Good morning, your Honor.      John

18     Weinberg, of the Weinberg Law Firm, here for defendant

19     Alexander Jelinek.

20                MR. MCGUINNESS:    Good morning, your Honor.      Neil

21     McGuinness on behalf of Chubb.       Also joining me is Stephen

22     Brody on behalf of Chubb.

23                THE COURT:    Good morning.

24                OK.   This is a discovery hearing in the case I believe

25     set by the plaintiff.
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  1               Does any defendant have any issues or are we primarily

  2    focusing on the plaintiff's issues?

  3               MS. HUEBER:    Yes, your Honor.     There's only one issue

  4    concerning confidentiality designations.

  5               THE COURT:    Right.

  6               MS. HUEBER:    Yes.

  7               THE COURT:    I do remember that one.

  8               MS. HUEBER:    That is the sole issue from defendants'

  9    perspective.

10                THE COURT:    OK.    We will make sure to get to that.

11                Let me go back to the plaintiff.       What is the most

12     important issue you want to tackle?

13                MR. M. BURTON:      With the court's permission, instead

14     of starting with maybe the most important, can I start with

15     probably the easiest to resolve?

16                THE COURT:    Sure.    That works too.

17                MR. M. BURTON:      OK.   First of all, on July 2nd we

18     submitted to the court a proposed protective order that was

19     agreed to with nonparty ADP TotalSource, Inc., and to date it

20     has not been executed.      If the court is amenable, we would ask

21     that it be so that they would feel comfortable producing

22     documents in this case pursuant to subpoena.         So that is the

23     first issue.

24                THE COURT:    You said it was filed on the 2nd of July?

25                MR. M. BURTON:      It wasn't filed.   It was emailed to
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  1    chambers on the 2nd of July.

  2               THE COURT:   Let's see here.     Go ahead and file it

  3    because then that way I can enter an order granting it.

  4               MR. M. BURTON:    In the form of a motion or just file a

  5    proposed --

  6               THE COURT:   In the form of a motion.      That way the

  7    docket reflects it.     Because otherwise, I don't like to enter

  8    discovery orders, protective orders that are not reflected in

  9    the docket.

10                MR. M. BURTON:    Certainly, Judge.     We will do so.

11                THE COURT:   It is possible that I probably missed it

12     as a result.    I don't see it here.      So go ahead and just file a

13     motion for entry, attach the proposal, and then if it is fine,

14     I will enter it right away.

15                MR. M. BURTON:    Thank you, your Honor.

16                The second issue, and I want to be courteous to

17     counsel for Chubb who are here and are not normal participants

18     in this case.     So if we could address that next.

19                THE COURT:   Sure.

20                MR. M. BURTON:    After the insurance issue arose, of

21     which the court is aware from past hearings, we sent a subpoena

22     to Chubb as well as one to Zurich and ADP.         ADP we just

23     discussed.    Zurich we have had some communications with counsel

24     and we will see where that goes.       But as to Chubb, the subpoena

25     was ignored or disregarded, and I'm not going to comment on how
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  1    or why that happened at this juncture, only to say that a

  2    substantial amount of time went by.

  3               We emailed the claims rep who we were aware of at

  4    Chubb, sent him the materials, received no response.          We

  5    eventually set this hearing and sent the notice of compliance

  6    to the claims rep, still heard nothing, and then this morning I

  7    received a call from Mr. McGuinness saying that he had just

  8    been made aware of it and he'd be happy to get us some

  9    materials.    I thank him for that phone call, but I did advise

10     that they still appear so that they could state their position

11     and we can just have some semblance of a time line for this and

12     if they are going to have any objections to it, because it is

13     substantially overdue and I just want to make sure that we get

14     compliance to it.

15                THE COURT:   Just so I understand, when was the

16     subpoena to Chubb served?

17                MR. M. BURTON:    The subpoena to Chubb was served -- it

18     was issued on June the 1st, and apparently it took a few days

19     for the Florida Secretary of State to fully process it because,

20     as I'm sure the court is aware, that is where that particular

21     type of subpoena would go.

22                THE COURT:   Right.

23                MR. M. BURTON:    So it was on June the 4th.      It

24     actually requested documents by the 11th.         It wasn't really our

25     intention to give them one week.       We didn't expect it would
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  1    take several days.      So nevertheless, like we weren't going to

  2    hold anyone to such a tight deadline either way, but we didn't

  3    receive any response.      The first that we've heard from them,

  4    despite multiple overtures, was this morning.

  5               THE COURT:   I see.    OK.   Just remind me what

  6    documentation you're seeking from Chubb.

  7               MR. M. BURTON:    Well, as the court may be aware, Chubb

  8    is one of the companies that we were talking about with regard

  9    to the insurance policies that were not disclosed and the court

10     has permitted us to take discovery on those topics,

11     specifically of the corporate rep, and that deposition is

12     scheduled for, top of my head says it is a week from today.

13                So we were hoping to get documents that would show who

14     knew what and when because we think that it will show that

15     plaintiff was communicating with Chubb and making selections

16     with Chubb and to see what is in their file and all sorts of

17     things like that.

18                We have been able to have productive discussions with

19     ADP, which resulted in the protective order we discussed, and

20     with Zurich to be determined.       We were expecting a similar such

21     dialogue with Chubb, but it did not occur.

22                In the materials we sent to the court we did include,

23     I believe, the subpoena, but if the court has any specific

24     questions about it, I'm happy to bring it up on my screen and

25     go through them one by one.
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  1               THE COURT:   OK.   Let me first turn to counsel for

  2    Chubb.    Who wants to respond on that issue?

  3               MR. MCGUINNESS:    Sure.   Thank you, your Honor.      Neil

  4    McGuinness.    I'm with staff counsel, and Steve Brody is also on

  5    behalf of Chubb.

  6               The reason there's two of us here is we kind of both

  7    got the assignment.     I was the one who spoke with Mr. Burton

  8    this morning and then I realized that, after I was able to

  9    communicate with my claim examiner, that it was also assigned

10     to outside counsel, Mr. Brody's office.

11                So certainly to start off, we apologize for any lack

12     of responsiveness with respect to the issue, but, again, my

13     office has just cleared conflicts last night and when I learned

14     about the hearing, I did what I could to get the materials

15     together.

16                So what we are going to be seeking, and I indicated

17     that to Mr. Burton this morning, is just some additional time,

18     and I would defer on Mr. Brody in terms of what amount of time

19     he would need to get up to speed on this.

20                The subpoena had 15 categories of documents.        So I

21     just don't know what is in the claim file, and some of this

22     looks certainly overbroad.       There could be some privileged

23     materials and so forth.       Again, I don't want to speak for

24     Mr. Brody because he is going to be handling it from this point

25     forward, but I dialed into the call because, again, I had the
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  1    initial contact with Mr. Burton this morning.

  2               THE COURT:   OK.    Mr. Brody, how quickly can you get a

  3    response and production?

  4               Did we lose Mr. Brody?

  5               MR. MCGUINNESS:     I think he is just dialing me on his

  6    phone.    Hold on one second, Judge.       I know he was in.

  7               I apologize, Judge.       He might have dropped off the

  8    call.

  9               THE COURT:   OK.    We will let him call back in.      Let me

10     table that issue.

11                MR. MCGUINNESS:     Yes, sir.

12                THE COURT:   Back to Mr. Burton.

13                MR. M. BURTON:     Yes.    Thank you, your Honor.

14                I guess the next issue that we would like to turn to

15     would be an issue that we did not get to at the last hearing,

16     which there has been some narrowing since that time.

17                You may recall, Judge, that we had some production and

18     amended responses the night before the last hearing with regard

19     to the second request for production.         The second request for

20     production and second set of interrogatories are the most

21     substantive ones.     So if we could start going through some of

22     them.

23                THE COURT:   Sure.

24                MR. M. BURTON:     I'm not going to be ticky-tacky on

25     every objection in here.       I just want to focus on the things
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  1     that I think that we need most of all.

  2               If I could start, your Honor, with -- I'm bringing up

  3     Kimera's amended responses to the second request for

  4     production.

  5               THE COURT:    OK.

  6               MR. BRODY:    By the way, Steve Brody is back on.        I

  7     apologize.    I just got disconnected right when my name was

  8     being mentioned.

  9               THE COURT:    OK.   I didn't hear you come back on.

 10               Mr. Brody, are you there?

 11               MR. BRODY:    Yes, I am.    I apologize, your Honor.

 12               THE COURT:    OK.   I don't know if you heard my last

 13     question.    I understand you were just retained to represent

 14     Chubb in response to the subpoena.        How much time do you think

 15     you need to get the response and the initial production?

 16               There may be objection on privilege issues, but with

 17     respect to just the production of nonprivileged documents, how

 18     much time do you think?

 19               MR. BRODY:    Your Honor, as indicated, I was just

 20     retained.    I just cleared conflicts 20 minutes ago.        I will

 21     commit to the court that I have worked with opposing counsel,

 22     plaintiff's counsel, on a number of other matters and that I

 23     will endeavor to ensure that we are as responsive as we could

 24     be.   I don't want to make a commitment that I can't keep other

 25     than the commitment that, as your Honor is aware, I take
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  1     discovery as something important for lawyers to do

  2     professionally.     That is my commitment.

  3               As soon as we can, we will get on it, look at the

  4     documents, produce what is not privileged, and those that are

  5     privileged or need confidentiality orders, we will work in good

  6     faith to get the necessary protection in place.

  7               THE COURT:    OK.   Just so that we have a little bit of

  8     a schedule in place, technically Chubb's objections, if any,

  9     are due pretty soon.

 10               MR. BRODY:    How about giving me until the end of next

 11     week, your Honor?

 12               THE COURT:    Right.    How about we just put a date and

 13     you can always seek another extension through counsel by

 14     agreement or otherwise by the court.

 15               MR. BRODY:    Sure.

 16               THE COURT:    So we will make it for end of next week

 17     for your initial response.       Again, if you want to seek more

 18     time, that's fine, but that way we have some schedule in place

 19     to deal with the 45-day issue.

 20               MR. BRODY:    No problem, your Honor.

 21               THE COURT:    So I will grant the request for response

 22     on Rule 45 to -- what is Friday?       Next week, what is that?       The

 23     23rd of July.

 24               Again, if you need more time, ask Mr. Burton.          In

 25     other words, if there is disagreement, just come back to me,
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  1     but that way you have something specific.

  2               MR. BRODY:    Thank you, your Honor.

  3               THE COURT:    OK.    All right.   Thank you.    We will let

  4     you go, then, on that and then we will table any issue that

  5     comes up on the subpoena for later discussion.

  6               MR. BRODY:    Thank you very much.

  7               MR. MCGUINNESS:      Thank you, Judge.

  8               THE COURT:    Thank you.

  9               Mr. Burton, you were referring me to the amended

 10     second answer, right?

 11               MR. M. BURTON:      Yes, and let me actually start with

 12     Dr. Ross, and I have to confess some embarrassment.          I have

 13     misplaced my highlighted copy of the Kimera one, but the issues

 14     are going to come up in both.       So let's start with Dr. Ross

 15     where I have them readily highlighted.

 16               If we start at No. 2, we request any and all documents

 17     and communications between Dr. Ross and any other person or

 18     party concerning and/or relating to plaintiff, and they

 19     objected for a number of reasons.        Let me just explain sort of

 20     the circumstances of this case.

 21               We believe that anything he is saying to or about the

 22     plaintiff would be relevant because we have employment claims

 23     but we also have personal claims.

 24               What the evidence in this case is going to show is

 25     that there were all sorts of what we allege to be misconduct in
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  1     the workplace, but also they claim that they terminated her for

  2     legitimate business purposes related to her abilities as an

  3     employee, and so forth.      We claim that there was sexual

  4     discrimination, harassment, sexual battery in the workplace.

  5     In addition to that, we have seen What's App messages between

  6     the plaintiff and Dr. Ross that are what I hope is not

  7     controversially stated as inappropriate in nature dealing with

  8     sexual topics, topics of drug use, all sorts of things.           So we

  9     believe that everything would be relevant.

 10               I will go a step further, your Honor.

 11               Plaintiff has produced her What's Apps and phone app

 12     communications with Dr. Ross but also with many other people.

 13     Some of those are group chats.       We know that Dr. Ross was on

 14     many group chats, and we have some of them because plaintiff

 15     produced them in this litigation.

 16               On the other side of the case, Dr. Ross has

 17     produced -- he produced his What's App with Dr. Selinger, but

 18     outside of a couple of stray screenshots of text messages, he

 19     has not produced anything else, including documents we know for

 20     a fact exist because we produced them.        We have substantial

 21     reason to believe that What's App and similar apps were the

 22     primary forms of remote communication when they weren't face to

 23     face at this particular company.

 24               Additionally, the people were not all in one location.

 25     The CFO was in New York.      One of the defendants, who was the
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  1     CTO, was in Los Angeles.      There were two offices in South

  2     Florida.    There were communications going on at all times of

  3     the day that involved plaintiff or that were about plaintiff,

  4     not just her work but also things that in most workplaces would

  5     have been considered extracurricular, such as drugs and

  6     partying and things of that ilk that were company sanctioned or

  7     at least promoted by the CEO and other executives.

  8                So we think that we would like to have all of those

  9     communications, whether they be What's App, whether they be

 10     emails.    And I will also note that Duncan Ross, I don't know

 11     about exclusively but at least physically, would use the Kimera

 12     Labs' email account.      He uses duncanross.net account.       So I

 13     don't know if that was for purposes of concealing it or what,

 14     but I know that there are many documents we have not seen.

 15                I will also note, your Honor, that this particular

 16     workplace doubled as an underground nightclub, during which

 17     alcohol and drugs were common sights late night, and they were

 18     shut down by local authorities.       So this is not a typical case.

 19     I think it is an extreme case.       We'd like to know what he was

 20     talking about with regard to the plaintiff because anything he

 21     would say to or about her would be relevant to this matter.

 22                THE COURT:   Now, their answer apparently says that

 23     they produced a series of documents under these Bates numbers.

 24     Did you review those?

 25                MR. M. BURTON:    I'm looking at No. 2 of Ross' amended
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  1     response, your Honor.

  2               THE COURT:    Right.

  3               MR. M. BURTON:      I don't see that.

  4               THE COURT:    Am I looking at the wrong thing?        This is

  5     Ross response to -- I'm sorry.       This is the first request.       Got

  6     it.   Sorry.   There is a second request that you're talking

  7     about.

  8               MR. M. BURTON:      Correct, your Honor.

  9               THE COURT:    Got it.    OK.   I pulled up the wrong one.

 10               No. 2.    You said it was No. 2, correct?

 11               MR. M. BURTON:      No. 2, first page.

 12               THE COURT:    OK.    Now I've got it.

 13               MR. M. BURTON:      I will also note, your Honor --

 14               THE COURT:    How is that different from number -- in

 15     No. 2, the first request, didn't you ask for communications

 16     from November 19 to the present kind of thing?          Isn't that what

 17     you asked in request No. 2 of the first request?

 18               MR. M. BURTON:      That was more specifically targeted to

 19     the time since the EEOC, and this is not limited in that way.

 20               THE COURT:    OK.

 21               MR. M. BURTON:      But I will also note that, Judge, what

 22     we received with regard to their November request, the other

 23     requests for production that your Honor refers to, was a few

 24     pages at best.

 25               THE COURT:    Right.    Let's see here.    This one they are
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  1     objecting as being overbroad.       Why isn't it overbroad if you're

  2     asking for non-date limited production of communications

  3     between Ross and any other person concerning the plaintiff?

  4               MR. M. BURTON:     Well, as a matter of fact in this

  5     case, she worked there from 2018 to 2019, and I believe they

  6     knew each other prior to that but they weren't what I would

  7     call frequent communicators.       So anything that he would be

  8     saying about her would be relevant because it would go

  9     immediately to the reasons for either, A, her employment, which

 10     goes to claims that we have for fraud and contract-related

 11     claims, for why did they hire her and what did they promise

 12     her, what was her work performance like, which goes to their

 13     dissentience, and also what I would call the extracurricular

 14     stuff, which was extreme.      We also allege that Duncan Ross

 15     sexually battered the plaintiff in the workplace twice.

 16               I can't think of a factual -- I understand the

 17     question itself is not time limited, but the reason it is not

 18     is because the brunt of the -- if there is anything that

 19     predates it, frankly I would really love to know because it

 20     would be surprising to me outside of maybe very limited

 21     interaction.    But if the court is inclined, we'd be happy to

 22     limit it to some period of time maybe shortly before her

 23     employment, but nevertheless, your Honor, I believe this is a

 24     proper request in our view.

 25               THE COURT:    Remind me, she began working for the
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  1     defendant when?

  2               MR. M. BURTON:     It was from --

  3               THE COURT:    Hold on a second.     I think we are getting

  4     a hold.

  5               (Pause)

  6               THE COURT:    It is gone.    Somebody had hold music or

  7     something.

  8               MR. M. BURTON:     To answer the court's question, our

  9     client, her employment contract, the testimony is it was signed

 10     around about September of '18, backdated to August of '18, but

 11     in real life she was working there from the early months of

 12     2018.   So essentially, 2018 to 2019 were her dates of

 13     employment.

 14               I will also add, your Honor, that dates subsequent to

 15     her employment are vital in this case because we actually

 16     allege in the complaint, at paragraph 100, that Dr. Ross has

 17     been disseminating humiliating material about the plaintiff for

 18     the sole purpose of causing her emotional distress to third

 19     parties, and this was subsequent to the time she worked there.

 20     We do have extrinsic evidence of that in this case.

 21               THE COURT:    But as to that -- she started I guess, so

 22     I understand, she started in 2018, contract dated September

 23     2018, and then she ended her employment November 2019.           Is that

 24     it?

 25               MR. M. BURTON:     She began working there in
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  1     approximately March of 2018, in that time period.          The contract

  2     was not signed until September.       It was backdated to August

  3     1st.   So that is the date on the piece of paper.         She was

  4     terminated in the fall of 2019.

  5                THE COURT:   OK.    When did she meet Mr. Ross?

  6                MR. M. BURTON:     She had met him prior to that, and I

  7     think there is some evidence that they have known each other

  8     mildly since maybe 2014.       But the testimony of Dr. Selinger is

  9     that I think it didn't become more concrete until 2017 because

 10     she had been to some social events at the illegal underground

 11     nightclub at the workplace.

 12                THE COURT:   And when does she allege that any tortious

 13     conduct on the part of Dr. Ross occurred?

 14                MR. M. BURTON:     I mean, it would be our position that

 15     essentially their entire relationship has been tortious because

 16     we allege, first of all, that there was fraud with regard to

 17     the promises made to her in her taking this position, things

 18     involving matters of equity and benefits that she would

 19     receive.    So that is relevant, we believe, from the very

 20     beginning.    We also believe that he was mistreating her, he was

 21     volatile, from the very beginning of the professional

 22     relationship.    Additionally, we believe that there were

 23     batteries of a sexual nature that took place in, I believe it

 24     was June of 2018 and then several weeks later as well.           So that

 25     occurred.
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  1     other people in the workplace, and this has continued to the

  2     present day.    So that forms part of the basis of our claim as

  3     well.   So we believe the whole time line is relevant.

  4               THE COURT:    OK.   Let me turn to counsel for the

  5     defendant on that issue.

  6               MS. HUEBER:     Thank you so much, your Honor.

  7               Setting aside these salacious allegations here, we

  8     have just a simple discovery issue about which documents have

  9     to be produced.     I want to bring to the court's attention No.

 10     3, which is immediately after this request for production.            It

 11     is requesting communications with Dr. Duncan Ross and any other

 12     party concerning or relating to the subject matter of this

 13     action.   This was at issue at the last hearing and we were

 14     directed to review and go over and make sure that we've gotten

 15     all of our responses for that.       Those responses have been

 16     provided.

 17               So what we are addressing here is only communications

 18     that are not concerning or relating to the subject matter of

 19     this action, and that is what we believe is clearly overly

 20     broad because Ms. Selinger, Dr. Selinger worked at Kimera for a

 21     few years and of course her name would pop up on many

 22     occasions.    So to provide each of these documents for this

 23     entire period of time is just extraordinary.         It would take a

 24     huge amount of time.

 25               THE COURT:    In other words, there is one thing to do
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  1     it from like the company's communication system, but what if it

  2     was limited to Dr. Ross' individual phone and individual What's

  3     App accounts, why wouldn't that be a reasonable limitation, and

  4     obviously to the relevant time period?

  5               MS. HUEBER:     I mean, the question -- the matters that

  6     are relevant are completely addressed in No. 3.          So to go after

  7     essentially the irrelevant communications, I mean, it should be

  8     inherently --

  9               THE COURT:    There really shouldn't be that many,

 10     though, you realize, right?       I'm talking about an individual

 11     email or What's App accounts, text messages, about an employee

 12     of a company.    There shouldn't be that many where they actually

 13     reference the person by name, right?

 14               MS. HUEBER:     Well, it depends on how you define that.

 15     The parties communicated frequently, and of course there are

 16     going to be group emails that are being sent and received by

 17     Dr. Ross as he is head of this company.         He was working with

 18     Melissa Selinger as part of this.

 19               Clearly if this could be narrowed -- this is not

 20     something that's been, something that we've had a discussion

 21     about.   If the plaintiff requested a more narrow subset of

 22     documents that are relevant to this case, of course that would

 23     be something that we could go through, but currently we are

 24     just addressing every instance of her name being used

 25     essentially for all time.
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  1                THE COURT:    For all time is basically a two-year

  2     period.    So it is not all time.

  3                MS. HUEBER:    Well, I mean, of course if we're

  4     narrowing it.

  5                THE COURT:    Ordinarily you would do in an email or a

  6     What's App search, to the extent that there are any, you would

  7     do a name search and whatever pops up.        Have you done that to

  8     tell me how many you have?

  9                MS. HUEBER:    Well, in terms of just email

 10     communications, I mean, they communicated frequently, for

 11     example, over email, and there are thousands of instances where

 12     she would be mentioned.      Now, it might be a situation where she

 13     was cc'd on communications, but those would be essentially

 14     concerning her work.

 15                THE COURT:    Remember, I'm excluding -- I am sure there

 16     was a corporate email system, right?

 17                MS. HUEBER:    Of course, your Honor.     Yes.

 18                THE COURT:    I'm excluding that.     Because obviously the

 19     plaintiff has that through other requests as well, I would

 20     imagine.    In terms of individual email and individual What's

 21     App or text messages from Dr. Ross individually, there can't be

 22     that many.

 23                Do you know how many there are?

 24                MS. HUEBER:    Outside the work context?

 25                THE COURT:    Yes.
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  1               MS. HUEBER:     I mean, I believe that would be correct,

  2     your Honor.

  3               THE COURT:    OK.

  4               MS. HUEBER:     But to the extent --

  5               THE COURT:    So then it is not really overbroad then,

  6     is it?   If the plaintiff's allegations are correct, then there

  7     may be more than normal.      That may be true.     However, if the

  8     defendants' allegations are correct, there should not be that

  9     many.

 10               Regardless of what that is, even if the plaintiff's

 11     allegations are correct, how many times could this have

 12     happened, right?     If I were to do a name search on his

 13     individual email and What's App accounts, how many documents

 14     could there possibly be?      And whatever those are those are.

 15               So since I'm limiting it to the individual account --

 16     because obviously there is a lot of normal communication about

 17     a business will include people and so that would be thousands

 18     potentially of email accounts.       So I'm excluding that.      I'm

 19     assuming that to the extent that the plaintiff has a claim here

 20     he wouldn't be using a corporate account to do it.          So

 21     therefore, if you limit it to an individual text, What's App or

 22     individual email, how many could there be?         And then the time

 23     period we're talking about is basically, say, January 2018 to

 24     November 2019, because there is another request that deals with

 25     November 2019 forward.      So it is a little over a year and a
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  1     half.

  2               MR. M. BURTON:      Your Honor, if I could interject.       I

  3     apologize for doing so.

  4               THE COURT:    Don't interject.

  5               Going back to the defendant.

  6               MS. HUEBER:     To narrow it as you stated, your Honor,

  7     that doesn't sound like a problem.

  8               THE COURT:    OK.     Then I will compel that with that

  9     modification.

 10               Back then to Mr. Burton.

 11               MR. M. BURTON:      Yes.   Thank you.

 12               MS. HUEBER:     Your Honor, I'm sorry.     For

 13     clarification, I want to make sure I get this completely

 14     accurate.    So the personal communications from 2018 until -- is

 15     the time, and just give me the correct dates if you could, your

 16     Honor.

 17               THE COURT:    So it would be January 2018 through

 18     November 2019.

 19               MS. HUEBER:     OK.    Thank you, your Honor.

 20               THE COURT:    There is another request -- you're saying

 21     you produced documents, right, because I think I'm looking at

 22     the Bates number -- that you claim are the same in response to

 23     No. 2 on the first request.        You produced documents 162 to 194

 24     in response to the third request.         In the second set you

 25     produced the same documents.         So what you are saying is to the
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  1     extent that there were subject-matter-related conversations

  2     with third parties that Dr. Ross had, you're saying that those

  3     are the post-November 2019.

  4               So assuming the accuracy of that, then I'm basically

  5     compelling January to November time frame as well for the

  6     individual, any individual account, any individual phone

  7     number, any individual What's App account, anything like that.

  8               MS. HUEBER:     Understood, your Honor.

  9               THE COURT:    OK.    Back to you, Mr. Burton.

 10               MR. M. BURTON:      Yes, your Honor, and thank you for

 11     that.   A couple of things I would just like to make clear, and

 12     then I have an inquiry.

 13               We would like it clear that this is not limited to

 14     What's App because we know they used, I believe they used

 15     iMessage, SMS, I know Signal may have been used.          I think

 16     there's a bunch of these apps.       I know they used Flack.

 17               THE COURT:    I'm not limiting it to any one platform so

 18     long as it is individually maintained by Dr. Ross.

 19               MR. M. BURTON:      OK.   Thank you.   That is first.

 20               Second, my cocounsel sent a preservation demand in

 21     2019, and I suppose if we find at the end that things weren't

 22     produced, we will deal with that.        I would just like to make it

 23     clear that we are also entitled to anything after 2019,

 24     November, because we have documentary evidence already that he

 25     has been disseminating videos, that otherwise could never be
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  1     linked to our client, for the sole purpose of causing her

  2     distress and also to discredit her testimony, as if to say --

  3                THE COURT:   But your request No. 2 in the first set

  4     asks for 11/2019 going forward.       So you made a request for more

  5     present, more contemporaneous documents in that request, did

  6     you not?    Wasn't it November 2019 forward?

  7                MR. M. BURTON:    We did; however, they sent us, I

  8     believe it was two documents, and they were, I believe, very

  9     deliberately cherry picked.       I know they were very deliberately

 10     cherry picked because we know from other witnesses that

 11     actually he was using iMessage this year to send these

 12     materials, and we have not received them from the defendants.

 13                THE COURT:   That is a different issue.       In other

 14     words, the request and the responses made that all responsive

 15     documents in his control are provided at Bates 162-94, right?

 16                MR. M. BURTON:    Your Honor --

 17                THE COURT:   I don't know what that is, and for

 18     purposes of a request for production I can't attest to the

 19     veracity of that until you get more information.          So, for

 20     example, I don't even know what they look like.          But you're

 21     saying there are two documents composed of those 30 pages.

 22                MR. M. BURTON:    Your Honor, I actually can shortchange

 23     this.

 24                THE COURT:   I can't resolve whether or not there is

 25     something missing without additional -- because obviously if
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  1     they represented to you that this is it and it turns out that

  2     there are all these other things, well, then they are going to

  3     have a problem, right.      It may be premature for me to get into

  4     that, isn't it?

  5               MR. M. BURTON:      Well, I don't believe so.     The night

  6     before the last hearing we had, on June 23rd, Ms. Hueber sent

  7     us a correspondence, which at the time I had not been able to

  8     look through what they sent, and in that correspondence she

  9     writes:   Additional communication between Ross and third

 10     parties concerning the dispute (Kimera 1548).          I am continuing

 11     to investigate about any additional responsive documents.

 12               Then I don't believe we ever received a followup apart

 13     from one additional text message, which I don't want to get

 14     into the substance of it.      I think it was cherry picked because

 15     it was intended to embarrass one of plaintiff's lawyers.           We

 16     will leave that aside.      That was the only thing that we got.

 17               So I don't even think that they believe that that is

 18     everything that they have because we are looking at the last

 19     response, though, made, which is a month old at this point, and

 20     I don't believe it's been subsequently amended to state what

 21     the current status is, and certainly I know we have not

 22     received everything.

 23               THE COURT:    OK.   Ms. Hueber.

 24               MS. HUEBER:     If I may, your Honor.     I have gone over

 25     this with my client.      I went over it at the time previously.
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  1     The reason why I stated I'm continuing to investigate is

  2     because I keep hearing allegations from the plaintiff's side

  3     that there are these documents that exist that we are not

  4     providing.    So because I am listening to these allegations, I'm

  5     attempting to get -- I'm redoubling and doing more than just

  6     simply reviewing the matter.

  7               So I am not aware of these other communications.          I've

  8     worked on it with my client to provide them and we have

  9     provided them all the ones that are in our possession.            So I

 10     don't know what else to give them.

 11               THE COURT:    Let me ask you, then, this question just

 12     to follow up on this.      For the time period, for example,

 13     November 2019 forward -- that was the one that was at issue and

 14     that you represented were produced as Kimera 162-94 -- what

 15     searches were undertaken to find that?

 16               MS. HUEBER:     I'm sorry.   The search terms?     We

 17     searched for --

 18               THE COURT:    Let me ask you the broader question just

 19     to get to the bottom of this.       How do you know that all

 20     responsive documents are the only ones that are encompassed

 21     within 162-94 for that time period?

 22               MS. HUEBER:     I have gone through with my client and

 23     discussed how to provide the references that he has made

 24     concerning her, the dispute, and anything else.

 25               THE COURT:    And I assume --
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  1                MS. HUEBER:    I mean, it is not really a search.

  2                THE COURT:    Hold on.   Did you see what search he did

  3     and did you look for what accounts he has?

  4                MS. HUEBER:    No, I did not personally review his cell

  5     phone.   I have reviewed the matter with my client and discussed

  6     with him what he would need to do to do that.

  7                THE COURT:    So how do you know as a lawyer that this

  8     is accurate?

  9                MS. HUEBER:    Well, I normally rely on the

 10     representations and my review of the records that I have, and

 11     of course discussions with my client.

 12                THE COURT:    Right.   In other words, but did you

 13     actually look through -- did you do any verification of it?

 14     Did you test it?

 15                MS. HUEBER:    In terms like a forensic review or review

 16     of his phone and those records?       No, I have not.

 17                THE COURT:    Right.   In other words, did anybody verify

 18     it?   Because this is your representation.

 19                MS. HUEBER:    This is off my client's assessment --

 20                THE COURT:    OK.

 21                MS. HUEBER:    -- based on my review.

 22                THE COURT:    In that case, then, the plaintiff may have

 23     a point.    In other words, you can't -- maybe I am going to

 24     start putting this in my orders because for some reason when I

 25     was practicing, I thought it was pretty well common knowledge
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  1     that you don't just take the word of a client for what is

  2     responsive because, number one, the client's not a lawyer and,

  3     number two, a client looks at things with jaundiced eyes,

  4     right.   So therefore, you have to have some method by which you

  5     verify the accuracy of something, and especially in a case like

  6     this where you have these types of allegations, there is more

  7     reason to do that.

  8               So in this case what you are telling me is that my

  9     assumption was incorrect.      My assumption was that you are

 10     representing, and based upon your knowledge and assessment,

 11     this is in fact everything.       But now that you've told me that I

 12     now have reason to question that, I guess I am going to have to

 13     go back and make this clear so that that way that addresses

 14     both this request, request No. 3, as well as request No. 2 of

 15     the first set, which is that you need to satisfy yourself as an

 16     officer of the court that the breadth of the information that

 17     you are looking for is accurate.

 18               So you're not giving me much comfort that you did that

 19     other than you had conversations with your client, but you

 20     haven't really verified it in some reasonable way.          That

 21     doesn't mean, by the way, that you have to hire your own

 22     forensic examiner.     That is not what happens.

 23               What happens is that you test out, just like I used to

 24     do years ago.    I actually had to go to factories and verify

 25     that documents were or not there, and I didn't take the
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  1     person's word for it.      You have to actually verify it for

  2     yourself in some respect to make sure that the representation

  3     that your client is giving you is actually accurate.           So that

  4     is the only way you can do that in order for you to say as an

  5     officer of the court, this is everything.         So I don't think

  6     you've done that.

  7               So for purposes of No. 2 and 3 in this request, and

  8     then back to request No. 1, No. 2, I think you need to do that

  9     as part of this process.      So I will grant that request.

 10               Ordinarily I take the representation this is

 11     everything, I take that at face value because in fact the

 12     lawyer has said, look, we have identified what accounts they

 13     could be, we have done searches, we have talked to our client,

 14     he has shown us what he has, and I can therefore say I'm

 15     satisfied with this, and you haven't given me that kind of

 16     assurance.    So to the extent that still needs to be done, I

 17     think that needs to be done right away.

 18               MS. HUEBER:     I understand, your Honor.

 19               THE COURT:    OK.   All right.    What is the next issue?

 20     So I guess I am going back, then, and compelling those

 21     additional ones as well.

 22               What is the next one?

 23               MR. M. BURTON:      No. 16 was very similar.     I will raise

 24     it just to see if it is in any way different.          It says:   Any

 25     and all documents evidencing communications between any of
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  1     Kimera Labs Inc.'s employees in which plaintiff has discussed,

  2     and let me be clear about what I think we're getting at.           There

  3     were group chats.     So if he is on them, I think it is relevant.

  4     I will leave that to the court's discretion on how to handle

  5     it.   I know that we have seen some of them ourselves.

  6               THE COURT:    Isn't that now, now that we're talking

  7     about the company's emails, basically you're asking about

  8     communications between any employee to which plaintiff is

  9     discussed.    Obviously that is overbroad in the sense that the

 10     whole email system may include something to do with the

 11     plaintiff, right, for a year and a half.

 12               MR. M. BURTON:      We would be happy to limit this to

 13     more of like iMessage, What's App, sort of texting apps and

 14     stay away from company emails where she may have come up in

 15     some email between two other people, because specifically this

 16     request was to Duncan Ross.       So if he has it on his phone, if

 17     he was copied on it --

 18               THE COURT:    I'm already compelling that for Mr. Ross.

 19               How many employees does this company have?

 20               MR. M. BURTON:      It started as a handful of people when

 21     our client started there and now I think it's 20 or 30.

 22               THE COURT:    OK.    I ordinarily don't compel give me any

 23     company employee email.       Typically we do it based upon who the

 24     persons are that you think would be involved in a particular

 25     transaction.
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  1               So here, you are obviously doing that with respect to

  2     those emails that you are hunting for or communications that

  3     you're hunting for with respect to Mr. Ross.         This is just

  4     overbroad.    I would have to figure out a way to narrow it and I

  5     am not going to do that on the phone.

  6               MR. M. BURTON:      That is fine, your Honor.

  7               THE COURT:    I am not going to compel No. 16 because it

  8     is clearly overbroad.

  9               MR. M. BURTON:      We will move on.

 10               THE COURT:    OK.

 11               MR. M. BURTON:      So one thing I would ask, Dr. Ross is

 12     presently scheduled to be deposed on August the 6th.           Prior to

 13     that we have a number of depos.       I will also note the plaintiff

 14     was deposed this week, earlier this week --

 15               THE COURT:    All right.

 16               MR. M. BURTON:      -- for two days, as previously

 17     compelled by the court.

 18               Certainly we would need these materials in advance of

 19     August 6th, but we're also taking the corporate rep of Kimera,

 20     who also happens to be Dr. Ross', I believe sister, the co-CEO,

 21     Lisa McMillan, on a week from today.        I guess I would ask the

 22     court for a time line in which we might be able to receive the

 23     communications that we have been discussing so far.

 24               THE COURT:    Well, ordinarily I would give two weeks

 25     for that.    So that would take us to July 30.
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  1               MR. M. BURTON:     OK.   May we reserve some time, either

  2     just shy of seven hours or something like that, with

  3     Ms. McMillan in case we need to bring her back?          Because my

  4     concern is we were already trying to accommodate defendants by

  5     merging what could have been two depositions into one because

  6     we separately noticed Ms. McMillan and the corporate rep.           They

  7     said it would be the same person, and we're trying to not take

  8     the same person twice.      But in light of the fact that we may

  9     get documents afterwards, I am not sure how the best way to

 10     handle that is.

 11               THE COURT:    You have been told that the corporate rep

 12     will be Ms. McMillan?

 13               MR. M. BURTON:     That is their representation, unless

 14     it changed and I am unaware of it.

 15               MS. HUEBER:     That is accurate.

 16               THE COURT:    I'm sorry.     What was that, Ms. Hueber?

 17               MS. HUEBER:     I'm sorry.    I just want to say that is

 18     accurate.

 19               THE COURT:    That is accurate.     OK.

 20               Well, based on that representation then, yes, I think

 21     then, since obviously some of this should have been produced

 22     before, I have no problem you just go forward with your

 23     deposition and if you want to reserve some time in the

 24     anticipation that some of these communications may be something

 25     that you want to ask the corporate rep about, that's fine.            So
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  1     you can reserve your time, and then obviously you can seek to

  2     reopen it if there are documents produced that you should be

  3     able to ask the corporate rep about.

  4                So your normal time is seven hours for the corporate

  5     rep witness.    So reserve however much you want to reserve in

  6     case you need to.     So that is fine.

  7                MR. M. BURTON:     Thank you, your Honor.

  8                THE COURT:   But obviously if you take up the whole

  9     time, then obviously it is moot.       But I'm assuming you are

 10     going to depose Dr. Ross separately, right?

 11                MR. M. BURTON:     Dr. Ross is separately being deposed

 12     on August the 6th.

 13                THE COURT:   OK.    So then the July 30th date works for

 14     you for that deposition.

 15                MR. M. BURTON:     It should, yes.

 16                THE COURT:   OK.    What is the next issue?

 17                MR. M. BURTON:     So the next issue is, I think the next

 18     issue should be financial discovery that relate to valuation of

 19     the company, also related to punitive damages, which we

 20     discussed last time, but I want to put this through the lens

 21     most pertinently of valuing the company because our client was,

 22     the allegations that we make, and we have extrinsic writings to

 23     this effect, to substantiate it --

 24                THE COURT:   Didn't I deal with this at the last

 25     hearing?    Didn't I order production of financial worth?
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  1               MR. M. BURTON:      So if I could actually turn this part

  2     of the discussion over to Richard Burton, because he is

  3     probably the better person to address this matter, if I may.

  4               THE COURT:    OK.

  5               MR. R. BURTON:      How are you, your Honor?     The

  6     materials that were supplied clearly were not in conformity

  7     with your order, and I will be very happy to tell you why.

  8               We got one quarter of a quarterly report for October

  9     and then supplemented in December of 2018 for the finances, and

 10     we received a 2019 tax return, a single one, for the company.

 11     From Mr. Ross we received a '20 -- I believe it is '18 and a

 12     '19, three -- hello?      I'm sorry.

 13               Your Honor, can you hear me?

 14               THE COURT:    Yes.

 15               MR. R. BURTON:      We received three tax returns on him,

 16     but those were the only documents.

 17               There were four separate documents, not the quarterly

 18     reports, nothing more current than the 2020, his personal

 19     return, which is fine, but there was no other documents.           It

 20     wasn't the quarters that you had ordered.         It wasn't the

 21     financial statements that they would keep in the normal course

 22     of business.    There was one profit-and-loss statement from

 23     three years ago, but nothing more contemporaneous.

 24               I believe your order had been if there were any

 25     quarterly reports that are normally produced or created in the
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  1     normal course of their conduct, if there were any tax returns,

  2     they were to be supplied for a number of years, both as to

  3     Mr. Ross and to the company, and we got four documents in

  4     total.

  5               THE COURT:    How many tax returns for Kimera?

  6               MR. R. BURTON:      One tax return for Kimera.

  7               THE COURT:    OK.

  8               MR. R. BURTON:      And I don't even want to say -- our

  9     expert has said what they would need, of course, is the normal

 10     documents in addition to things that are obvious, such as if

 11     there were any real estate transactions, those transactions,

 12     the normal, like what the value of these things are or are not.

 13     We received virtually no documents.

 14               The standard objection they had is in our

 15     interrogatories.     Instead of supplementing them, they have

 16     stood on the objections saying that this goes beyond any scope

 17     of any matters in this case, including for insurance policies

 18     and what have you.     In spite of this being brought up the last

 19     time, we are not much better off.

 20               THE COURT:    Because my recollection was I ordered

 21     profit-and-loss statements, financial statements prepared in

 22     the ordinary course, and tax returns.

 23               Am I wrong about that?

 24               MR. R. BURTON:      That is my understanding, yes.

 25               As I said, there could be quarterly or annually
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  1     depending on how they are normally received for a period of

  2     like three years and, as I said, we did not get anything even

  3     approaching that.     In the case of the P&L, we got no backup

  4     with it.    It refers to schedules that weren't there.

  5                THE COURT:    OK.   Turning to counsel for the defendant.

  6                MS. HUEBER:    Your Honor, thank you.     This is news to

  7     me that there is a concern regarding our production.           We

  8     provided the tax returns that were requested by the plaintiff

  9     for the years that they were requested.         We don't have these

 10     quarterly returns that are being referred to.          Those weren't

 11     sent in, as we have explained.       The financial documents and the

 12     tax documents which were ordered were provided.          The remainder

 13     of what it appears they are requesting are the things that this

 14     court elected not to compel.

 15                THE COURT:    Well, he is claiming, for example -- let's

 16     take the tax returns -- that there was only one tax return

 17     partially produced because it didn't include all the schedules

 18     for Kimera.    Is that accurate, or does he not know what you

 19     actually produced?

 20                MS. HUEBER:    I'm looking at the schedules that I sent

 21     them, your Honor, and I see them.        So I don't know what they

 22     are saying that we don't have.       I'm looking at the schedules

 23     right now.    I pulled them up on my computer.

 24                THE COURT:    OK.   What year return do you see?

 25                MS. HUEBER:    Well, right now I'm looking at 2018 for
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  1     Kimera Labs.

  2                THE COURT:    OK.

  3                MS. HUEBER:    We previously also provided the 2019

  4     ones, but there was no 2020 return filed.         My client hasn't

  5     filed that yet.

  6                THE COURT:    OK.

  7                MR. R. BURTON:      I'm unfamiliar with when they claim

  8     they gave us the 2019 return.        I didn't see that.    I could be

  9     wrong, but I will please check.

 10                THE COURT:    When did you produce the 2019 return?

 11                MS. HUEBER:    I believe it was actually before the

 12     hearing.    We only provided the additional one because it had

 13     already been provided.

 14                THE COURT:    Did you also provide the schedules for the

 15     2019 or just the return?

 16                MS. HUEBER:    Yes, I believe we did.     I'm almost

 17     certain.

 18                THE COURT:    Well, go back and verify that and find it

 19     for them, because I want to make sure -- because you may have

 20     not produced it.     Since that occurred prior to my order, you

 21     may have only produced a limited portion of it as opposed to

 22     what I ordered, which was the complete return.          So go back and

 23     verify that for them.

 24                If you've got the 2018 return in front of you that

 25     shows all the schedules, right, you're saying that that
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  1     includes all the schedules that would normally be attached to

  2     the return?

  3               MS. HUEBER:     Absolutely, your Honor.      Of course.

  4               THE COURT:    OK.

  5               MS. HUEBER:     There is no question there.

  6               THE COURT:    And then with respect to financial

  7     statements prepared in the ordinary course?

  8               MS. HUEBER:     We provided the financial statements to

  9     them as well, so I'm not certain what sort of statements that

 10     they are saying that they still need.

 11               MR. M. BURTON:      Your Honor, this is Marc Burton, just

 12     because I was looking at it this morning.         I believe that

 13     they've produced what they purport to be a balance sheet for

 14     originally October of 2020.       Then they gave an updated one,

 15     which I believe is December of 2020 but still the same quarter,

 16     and then I believe they gave a single P&L for the same time

 17     period of December of 2020.

 18               I don't recall seeing anything other than that.           If

 19     Ms. Hueber is saying that that is not correct, then I hope she

 20     will correct me, but that is my belief.

 21               THE COURT:    Ms. Hueber.

 22               MS. HUEBER:     I believe that's correct.

 23               THE COURT:    OK.    All right.   Wouldn't there be more,

 24     though, for the time period that I ordered?         As I recall, it

 25     was basically the time period of 2018, 2019, 2020, right?
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  1               MS. HUEBER:     Well, that was for the tax returns, your

  2     Honor, not the documents in the normal course of business

  3     during those time periods.      If that was ordered, of course that

  4     could be provided.

  5               THE COURT:    Yes, because the -- yes.       To the extent I

  6     didn't make that clear, I think -- you correct me if I'm wrong,

  7     Mr. Burton, but I thought that was the time period, the 2018 to

  8     2020 time period.

  9               MR. R. BURTON:     I think you're accurate now, and I

 10     believe your understanding and memory is perfect that we were

 11     to get all of the normally-produced financial data that the

 12     company would have during those periods.

 13               THE COURT:    Yes, and that needs to be produced prior

 14     to the corporate rep deposition because the corporate rep

 15     deposition is obviously going to be done for that reason.           So I

 16     don't want to reopen that because now we're reserving much more

 17     than some additional emails.

 18               That I am going to give you a week to cure because I

 19     think I ordered that pretty clearly if you look back at the

 20     transcript.    So based upon your description of what you

 21     produced, I think it's incomplete, and there should be more.

 22               This is a medical office, right?

 23               MR. R. BURTON:     This is a company that develops

 24     pharmaceutical products.      These reports are required by the

 25     FDA.   They are required by any number of government agents.           I
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  1     would be shocked if those were all of the financial reporting

  2     they have.

  3                THE COURT:   Everything I ordered needs to be cured by

  4     Friday of next week for this, so that way that will take care

  5     of it for the corporate rep deposition.

  6                What is the next issue?

  7                MR. M. BURTON:    Your Honor, I will actually defer to

  8     Mr. Burton on what I was going to raise next, which is some of

  9     the same financial issues were also problems with regard to

 10     interrogatories.     I will leave it to him whether in light of

 11     the court's orders so far we wish to pursue any.          If I could

 12     give him a few seconds to look at that document.

 13                MR. R. BURTON:    Yes.   I'm looking at the response to

 14     interrogatories and virtually all of them have the same

 15     objection.    These were interrogatories that were filed in

 16     January.    For example --

 17                THE COURT:   Wouldn't I have dealt with that issue back

 18     in the last hearing?      Isn't that basically why I ordered a

 19     production of these documents?

 20                MR. R. BURTON:    You did, but the interrogatory answers

 21     have never been amended.      For example, things that aren't a

 22     document.    For example, compensation questions, the ones that

 23     would normally be answered in a punitive damage case.           The

 24     standard objection is Kimera objects to interrogatory number

 25     blank because the information requested is irrelevant for the
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  1     disposition of any claim or defense in this case.

  2     Interrogatory number blank is not within the bounds of

  3     discovery because it was not proportionate to the needs of the

  4     case in accordance with Rule 26(b)(1) for the reasons recorded

  5     in recurring objection A.      That is the standard objection to

  6     everything.

  7               THE COURT:    I am not going to get into the

  8     interrogatory again because I think I covered this at the last

  9     hearing, and the way I covered it was by ordering the

 10     production of these documents.

 11               MR. R. BURTON:     I understand.

 12               THE COURT:    If ultimately you don't get these

 13     documents, then that is another matter because they are

 14     obviously the questions you would be asking also of the

 15     corporate rep.     Then that may be a remedy I may have to go back

 16     to, but I am not going to get into the interrogatories I

 17     already covered last time.

 18               MR. R. BURTON:     I fully understand, but I don't want

 19     the corporate rep to come in there and the first thing she is

 20     going to say is, what did I put in my interrogatory, and I am

 21     going to ask her --

 22               THE COURT:    It doesn't sound like they answered,

 23     right?

 24               MR. R. BURTON:     Yes.   And then she will say, did I

 25     provide it in -- I don't have the copy of the documents that
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  1     were submitted, and you play the hamster wheel.

  2               THE COURT:    So that you are covered, obviously the --

  3     any testimony that relates to the matters that I ordered

  4     produced you can ask the corporate rep about, and obviously you

  5     are going to put that in your deposition notice as to the

  6     financial worth of the company for that three-year period.

  7               MR. R. BURTON:     That and certain other --

  8               THE COURT:    Basically -- I guess I see what you are

  9     saying.   You are saying you don't want an objection to be

 10     lodged that all this is irrelevant.        I have already overruled

 11     that objection by virtue of the fact that I have compelled

 12     production of this information.       I remember having this

 13     discussion.

 14               So to the extent that the defendant wants to raise

 15     that argument, you can certainly preserve it because all

 16     relevance objections are preserved, but I have already

 17     compelled financial information for that three-year time

 18     period, and obviously the same ruling would apply if an

 19     objection was lodged during the corporate rep deposition.           So

 20     to the extent you want that assurance, you have it.

 21               What is next?

 22               MR. R. BURTON:     Your Honor, we will take the

 23     deposition and obviously if there are issues that come up as a

 24     result of that or any of the other positions earlier taken, I'm

 25     sure you will hear about it again later.
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  1               THE COURT:    Exactly.

  2               What is the next issue?

  3               MR. M. BURTON:     Thank you, your Honor.

  4               The third request for production deals with the

  5     insurance issue.     After this issue arose, we issued a request

  6     for production to Kimera and they responded to it on the 2nd of

  7     July but didn't provide the actual documents until the 9th.            So

  8     that is a week ago.

  9               I don't know if it is complete or not.         Every

 10     response -- I mean, they object to some, but to the extent that

 11     some of them don't have objections or they say we're giving

 12     documents notwithstanding the objection, they all just say we

 13     will give you documents by July the 9th, and I would like them

 14     to supplement that to say what is relevant to what question.

 15               Disturbingly, we learned of a new policy during that

 16     production that we believe may in fact provide coverage in this

 17     case.   So I think this is of vital importance because --

 18               THE COURT:    If they found another policy amazingly

 19     enough, why do you think the production is incomplete?

 20               MR. M. BURTON:     Well, I don't know if it is incomplete

 21     because they didn't answer the questions in that format.           They

 22     just said we will give you documents by July the 9th for every

 23     single question, and then they did, but that doesn't mean that

 24     there are not more documents.

 25               They also produced emails between the CEO of the
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  1     company and the general counsel of the company with their

  2     insurance agents debating whether to make claims in October of

  3     2020 on certain policies, and one of them was one that had

  4     never been produced before until a week ago.

  5               So I think at this point --

  6               THE COURT:    It sounds like there is nothing for me to

  7     compel right now.

  8               Ms. Hueber, are the productions -- let me ask you this

  9     question.    Is the production that you provided to Mr. Burton on

 10     July 9th, does that complete the production of anything that is

 11     in your possession, custody, and control with respect to the

 12     third request?

 13               MS. HUEBER:     Yes, your Honor.

 14               THE COURT:    OK.   And is it true there is another

 15     policy?   Did you find a new policy?

 16               MS. HUEBER:     I am not certain what plaintiffs are

 17     referring to.    Of course, Kimera has different source of

 18     policies for other types of things which might have been

 19     related in the sense that they might have been part of

 20     discussing something as part of the communication regarding the

 21     policies at issue in this case, but I have not heard this issue

 22     before.

 23               THE COURT:    OK.

 24               MS. HUEBER:     If counsel could address it with me at

 25     some point in time, of course I will be happy to address it.
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  1               MR. M. BURTON:     So what had happened, actually, with

  2     regard to this, and you will see the third request for

  3     production is on the notice of compliance, I had offered to

  4     talk about it with them and Ms. Hueber said can I have until

  5     next week, and I said sure, but I am going to put it on the

  6     notice of compliance because I don't want this issue waived.

  7     Then during the course of this week, we came to learn that

  8     there is in fact a Pharmacists Mutual policy which provides for

  9     certain liability coverage, which may or may not be already

 10     triggered.    But we may need to amend our complaint because I

 11     actually think there may in fact be triggering clauses given

 12     the facts of our case, including potentially slander and libel

 13     and also potentially including, very pertinently to this case,

 14     invasion of privacy, which in our case would be the public

 15     disclosure of non-public facts, which we believe is actually --

 16     I mean, it may be a summary judgment issue.         I mean, I think

 17     it's that clear.

 18               So I think it is offensive that on October of 2020 the

 19     CEO and general counsel are actually asked by their insurance

 20     agent, should we submit the claims, and that apparently didn't

 21     happen because a month and a half later they are still talking

 22     about it, and we only just learned of this policy now.           I'm

 23     trying to not speak quickly because I'm getting excitable given

 24     this particular topic.      I would just like to make sure that

 25     there is nothing else because I think it is vital that we know
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  1     that there is nothing else.

  2               THE COURT:    Ms. Hueber, have you completed your review

  3     for anything responsive to the third request?

  4               MS. HUEBER:     Yes, your Honor.    We have provided to

  5     plaintiff.    Again, I am not certain what they are referring to,

  6     but I would be happy to discuss it with him after review.

  7               THE COURT:    OK.    Obviously you will verify this at the

  8     corporate rep deposition.

  9               MR. M. BURTON:      Thank you.

 10               THE COURT:    What is the next issue?

 11               MR. M. BURTON:      The next issue is, the court will

 12     recall that at the last hearing there was an argument about

 13     confidentiality designations.       The court had determined that

 14     there had been a waiver by the defendants but the court was

 15     going to give the defendants a second chance to reconsider

 16     their positions.     I mean, we believe that, we believe the

 17     issue's in the same posture it was at the last hearing.           I'm

 18     not sure how the court wishes to handle this.

 19               I will also note, if I could combine these issues,

 20     there is the separate issue of the Outlook file.          Last night --

 21     actually, earlier this week the defendants filed a notice of

 22     compliance where they were continuing to object to the entire

 23     thing, saying that it was all a trade secret.          Last night

 24     Ms. Hueber sent correspondence saying that they were, as I

 25     understand it, waiving a lot of those designations but
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  1     maintaining several of them -- not several, many -- but in the

  2     context of 8,000.     It was substantially less.

  3               I have had zero opportunity to look at those because,

  4     once again, the only deadlines in this case are the night

  5     before we have discovery hearings.        I don't know in which order

  6     or how the court wishes to address that, but those are the

  7     other issues.

  8               THE COURT:    Well, Ms. Hueber, do you want to do that

  9     by motion?

 10               MS. HUEBER:     Well, your Honor --

 11               THE COURT:    In other words, the issue, as I recall,

 12     was that at the last hearing there was a discussion as to

 13     whether or not you had entirely waived any challenge to any

 14     designation issues under the protective order, and then I said,

 15     well, why don't you review what it is you really want to argue

 16     about, and then that is how we got here.         Is that right?    Does

 17     that about sum it up?

 18               MS. HUEBER:     Yes, your Honor.    For clarification,

 19     before the last hearing we had narrowed our designations in

 20     consideration of that.      So when we re-reviewed it again, I'm

 21     very confident in those renewed designations that were done

 22     before the last hearing, that those were accurate for those

 23     documents at issue.

 24               If we are going to be talking about the Outlook file,

 25     that is a separate issue and that wasn't discussed at the last
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  1     hearing.    So obviously I have argument concerning both of them.

  2     I just want to make sure I'm addressing the correct point that

  3     your Honor is seeking.

  4                THE COURT:    Well, let's start with the first thing

  5     first.   In other words, these were -- remind me now -- these

  6     were documents that you designated as confidential and

  7     protected.    The plaintiff challenged those under the protective

  8     order, which then put the burden on you to then seek judicial

  9     relief to sanction your position.        Is that accurate under the

 10     protective order?

 11                MS. HUEBER:    That was the result of the hearing, your

 12     Honor.   At the last hearing your Honor ordered that we review

 13     our redesignations --

 14                THE COURT:    Right.

 15                MS. HUEBER:    -- that happened shortly before the

 16     hearing and confirm that those were the ones.

 17                THE COURT:    OK.

 18                MS. HUEBER:    So we have done that, and I have not been

 19     advised of any problem with any of those designations for us to

 20     address.

 21                THE COURT:    What does that mean?     In other words, you

 22     think there is an agreement, then, on the redesignation of

 23     those as confidential?      Is that what you are saying?

 24                MS. HUEBER:    Your Honor, I redesignated it and I have

 25     given it to my opposing counsel and I have not been advised of
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  1     any concern regarding those redesignations, for them to be a

  2     conflict.    I haven't been advised of any conflict concerning

  3     that.

  4                THE COURT:    OK.

  5                MS. HUEBER:    We already addressed that at the last

  6     hearing.

  7                THE COURT:    OK.    Mr. Burton.

  8                MR. M. BURTON:      I mean, we discussed -- maybe I'm

  9     mistaken about something, but I don't think that I am.           At the

 10     last hearing we discussed that they were going to go through

 11     everything, and we have on our notice of compliance for this

 12     hearing that we were reconsidering this issue.          I think it

 13     actually is titled Confidentiality of Defendants' Production

 14     (Revisited).

 15                THE COURT:    I guess what she is saying is, so I make

 16     sure I'm clear, is they believe that their new redesignations

 17     you should agree to and if not, they haven't heard any

 18     objection yet.     So what you are saying is, well, you are

 19     prepared to do that now at the hearing.

 20                Is that basically what you are saying?

 21                MR. M. BURTON:      Our position is that they waived their

 22     objections, and I actually believe the court's specific ruling

 23     at the last hearing was that the court was going to

 24     definitively waive anything that was just confidential but may

 25     entertain something that was a trade secret.         That is my
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  1     memory.

  2               But what they are doing is they are still stating that

  3     there are both confidential and trade secret documents, and it

  4     is a lot of documents.      I also believe --

  5               THE COURT:    When you say "a lot," what do you mean?

  6     How many actually in number?

  7               MR. M. BURTON:     I believe there are hundreds, if not

  8     thousands, of pages.

  9               THE COURT:    You know what I mean.      In other words, how

 10     many documents, though?

 11               MR. M. BURTON:     I believe, if I'm remembering

 12     correctly from correspondence from weeks ago, and Ms. Hueber

 13     will have to correct me if I'm wrong, that they have reduced

 14     their trade secret -- I'm putting aside the Outlook for a

 15     second.   This is just the stuff from last time.         That they

 16     reduced their trade secrets from a substantial number down to

 17     something approximating eight or ten, but then they still say

 18     that everything else -- or not everything else, but much of the

 19     rest of their production is confidential, including anything

 20     that was labeled, if I'm remembering correctly, a standard

 21     operating procedure, other than several which they set aside as

 22     trade secret.    That is my recollection.

 23               I believe that the court's position was that anything

 24     they said was confidential would be waived and the court would

 25     be willing to determine what the real meat of it was, the meat
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  1     being legitimate trade secrets.       That's my recollection of the

  2     court's ruling.

  3               MS. HUEBER:     Your Honor --

  4               THE COURT:    Bring it forward.     In other words, I

  5     understand that, but have you reviewed her redesignation and

  6     are they in fact confidential?       If so, then why are we arguing

  7     about it if we have narrowed it down to eight to ten documents.

  8               So I would have to read the transcript again, but I

  9     could have very well said if you narrow it to something that

 10     really matters, I will allow you to consider reopening it.

 11     That is probably what I said.

 12               Assuming that's the case, do you want to argue about

 13     the confidentiality of these eight to ten categories of

 14     documents?

 15               MR. M. BURTON:     I will tell you what, your Honor.        As

 16     to the documents that are labeled as trade secrets, I will --

 17     I'm sorry, your Honor.      Can I have one second?

 18               THE COURT:    Sure.

 19               (Pause)

 20               MR. M. BURTON:     I think our position will be that we

 21     do not wish -- that we will honor their designation at this

 22     juncture for the trade secrets given that the court has been

 23     very generous with time, and I am frankly not prepared, in

 24     candor, as to the specific eight, because I don't have it in

 25     front of me, and I am not going to waste the court's time;
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  1     however, I have stated what our belief is of the court's

  2     ruling, but we will at least stand down at the moment, if that

  3     is acceptable to the court.

  4               THE COURT:    All right.    That's fine with me.

  5               MS. HUEBER:     Your Honor, I just want to --

  6               THE COURT:    So then absent some other necessity, then

  7     these documents then will be treated as trade secret and

  8     confidential under the protective order, so then that way we

  9     can move forward.

 10               OK.   Anything else?

 11               MR. M. BURTON:      Your Honor, as to the Outlook files, I

 12     think that is a separate category altogether --

 13               THE COURT:    All right.

 14               MR. M. BURTON:      -- because they had designated

 15     everything a trade secret until last night late, and then that

 16     had actually been their continuing position until earlier this

 17     week, until actually last night, but they put it in writing as

 18     recently as earlier this week.       So I am not -- I mean, I don't

 19     know how to proceed given that set of facts.

 20               THE COURT:    OK.

 21               MR. M. BURTON:      Because even though I will be -- I'm

 22     sorry.   Go ahead.

 23               THE COURT:    On the Outlook file, Ms. Hueber, you're

 24     not contending the whole thing is a trade secret, are you?

 25               MS. HUEBER:     No, your Honor.    I think it is important
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  1     to have a little bit of context here, though, because this is a

  2     response to a request concerning the entire contents of an

  3     Outlook file.    It wasn't narrowed to any particular issue in

  4     the case.    There are about 8,700 documents or so, I think

  5     possibly more.

  6               THE COURT:    Right.

  7               MS. HUEBER:     My original response to this request,

  8     overly broad request, was to say, look, it's overly broad, you

  9     haven't narrowed your request anything about this case, and

 10     there are so many documents.       It would just take days to go

 11     through them and identify the particular ones.          So we had an

 12     agreement that I will be providing them under the trade secret

 13     designation, just because there is simply too many documents

 14     just to go through.     But nevertheless in the meantime,

 15     recognizing the court's prior hearing, even though it was not

 16     about this issue --

 17               THE COURT:    Right.

 18               MS. HUEBER:     -- and the importance of it, I spent a

 19     couple of days going through them --

 20               THE COURT:    OK.

 21               MS. HUEBER:     -- to make sure, and a lot of time went

 22     into this, and I identified the specific documents at issue.

 23               THE COURT:    Just so I understand, so there are like

 24     8,000 emails and of that you identified what as being trade

 25     secret?
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  1               MS. HUEBER:     Probably about, I think it's about four

  2     documents as being trade secret, several more -- anything

  3     regarding the standard operating procedures, about half of

  4     those were listed as confidential.

  5               THE COURT:    OK.

  6               MS. HUEBER:     But it is only those categories of

  7     documents.

  8               MR. M. BURTON:      Your Honor, I need to respond to that.

  9               THE COURT:    OK.

 10               MR. M. BURTON:      I'm bringing some materials up on my

 11     screen right now.

 12               So first of all, I would just like to address the

 13     statement that we had an agreement on this.         More accurately,

 14     Ms. Hueber had said that they weren't going to give them at all

 15     because there may be trade secrets and confidential information

 16     in there.    We said there is no basis to withhold everything

 17     like that.    They said, well, how else are we going to give it

 18     to you.   We said, I guess you have to figure that out.

 19               In the course of that discussion we said you have the

 20     ability to give them to us.       We don't think that it is proper,

 21     but you could give them to us, you could designate documents,

 22     you could do whatever you want, but we are not agreeing these

 23     are trade secrets.     You're certainly entitled to produce them

 24     that way if you choose to do so, but that is a far cry from us

 25     saying that we agreed that it was proper.
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  1               Leaving that aside, Ms. Hueber said that there were

  2     four documents.     I'm trying to bring up her email which was

  3     from last night, after 7 p.m., and it has -- it is an

  4     eight-page document single spaced of designations.          I don't

  5     want to leave any inference that there were four documents that

  6     were designated.

  7               THE COURT:    Got it.    I take it, then, just so I

  8     understand your position, the Outlook file would contain

  9     obviously a lot of email.

 10               You're not disputing her characterization of it for

 11     purposes of production as confidential, do you?

 12               MR. M. BURTON:     I don't understand the court's

 13     question.

 14               THE COURT:    In other words, my recollection of the

 15     protective order is that there are different tiers of

 16     protection.    One would be for trade secret and one for

 17     confidential, or is that incorrect?

 18               MR. M. BURTON:     That's correct.

 19               THE COURT:    That is correct, right.      So then obviously

 20     to the extent that they are confidential, are you disputing

 21     that emails -- this would be the internal Outlook system of the

 22     Kimera defendant, right?

 23               MR. M. BURTON:     This was, as I understand it, two

 24     email accounts that our client used in the course of her job.

 25     So yes, this would be Kimera's emails to our client.           Yes,
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  1     correct.

  2                THE COURT:   OK.    This isn't all of Kimera's email

  3     account?

  4                MR. M. BURTON:     No.    This was just our client's email.

  5                THE COURT:   That are your client's emails.

  6                MR. M. BURTON:     Yes.

  7                THE COURT:   OK.    Got it.

  8                So then let's take it a step at a time.        Do you object

  9     to any of their designation of it as confidential under the

 10     protective order?

 11                MR. M. BURTON:     Yes.    I mean, first of all, and not to

 12     put too fine a point on it, but they have to designate

 13     materials in good faith.       The discussion that Ms. Hueber is

 14     alluding to, where she claims it was an agreement and I'm

 15     saying it wasn't an agreement, but nevertheless that discussion

 16     was in May and --

 17                THE COURT:   Just answer my question.

 18                MR. M. BURTON:     Well, no.

 19                THE COURT:   My question is, they have produced to you

 20     these two accounts and they have produced to you under multiple

 21     tiers as it relates to the confidential designation.           Do you

 22     dispute that?

 23                MR. M. BURTON:     I would have to, Judge, because they

 24     sent this last night and we've been preparing for a million

 25     other things, including the rest of this hearing.          So just like
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  1     last time, they've made their decisions on how to proceed in

  2     advance of a hearing at the last minute before the hearing.

  3               THE COURT:    I will be happy to give you more time.

  4     You don't have to make that decision immediately, especially

  5     since you got an amendment last night.        So I am fine with you

  6     having more time.     I only need to get involved to the extent

  7     there is disagreement.

  8               So obviously to the extent that you look at this and

  9     you decide not to challenge X amount of them, then obviously

 10     that is fine, I don't need to worry about it.          To the extent

 11     you want to challenge them, either because you don't think they

 12     are trade secret or confidential, I'll give you an opportunity

 13     to do that, so that way then the burden is on the party seeking

 14     to maintain it, which I think is the defendant, to then get the

 15     court to sustain their designation.

 16               Isn't that basically where we are with respect to this

 17     Outlook file?

 18               MR. M. BURTON:      I think that is more or less correct,

 19     your Honor.

 20               THE COURT:    OK.    So just to streamline things, because

 21     at least now we are not talking about a billion things, how

 22     much time would you like for your review of this?

 23               MR. M. BURTON:      I mean, I'm assuming that it can be

 24     done in -- is it possible to do it maybe by -- well, let's see,

 25     because we have a deposition on Friday and we also have one on
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  1     the day before, on Thursday.       Putting that aside, I'm sure we

  2     could look at them by that time period, but I just don't know

  3     in terms of the court's availability, but we probably could do

  4     it within a week.

  5               THE COURT:    OK.   Because I think the more streamline

  6     way to do this would be not to set it for another discovery

  7     hearing, simply because -- I may be able to do it quicker on

  8     paper based upon whatever it is that you challenge, and then

  9     that way I will force the defendant to file a motion that seeks

 10     to sustain the designation on any of the ones that you're

 11     challenging and then I can do an in camera review and resolve

 12     it.

 13               MR. M. BURTON:      That would seem to make sense, at

 14     least from our perspective.

 15               THE COURT:    That way we kind of get this process

 16     finalized without interfering with everything else.

 17               So why don't you do that.       Give any objections to this

 18     designation, say, by a week from today.         Then the defendant

 19     will then have a week to consider those positions or otherwise

 20     file a motion.

 21               I will let you file a motion under seal to the

 22     extent -- because I need to see the document potentially for

 23     anything that you are seeking to sustain the designation to.

 24     Is that fair?    Then I will just do it as expeditiously as I

 25     can.
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  1               MR. M. BURTON:      Thank you, your Honor.     We appreciate

  2     the court's attention to all the matters.

  3               THE COURT:    OK.    All right.   So that is how I will

  4     handle it.    I will wait to see what is filed two weeks from

  5     today.

  6               I guess that covers it for now, right?

  7               MR. M. BURTON:      If I could have a second to confer

  8     with my cocounsel.

  9               THE COURT:    Sure.

 10               MR. M. BURTON:      Because offhand I can't think of

 11     anything, but I don't want to have a whoops moment the second

 12     we hang up.    If I could have a minute or two.

 13               THE COURT:    Sure.

 14               MR. M. BURTON:      Thank you.

 15               (Pause)

 16               THE COURT:    On the defendants' side, anything else?

 17               MS. HUEBER:     No, your Honor, simply the

 18     confidentiality designation.       I want to make sure that that

 19     is --

 20               THE COURT:    You understand what I'm saying in terms of

 21     this Outlook issue?

 22               MS. HUEBER:     Yes, your Honor, I believe so.

 23               THE COURT:    OK.

 24               MS. HUEBER:     Yes.

 25               THE COURT:    OK.
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  1                MR. M. BURTON:      Your Honor, I have something that is

  2     not noticed but it may be pertinent given something that

  3     happened yesterday.

  4                In the event of a possible deposition of a certain

  5     witness, Marc Waldman, time splitting of the seven hours,

  6     because it seemed like we were probably going to be OK but it

  7     was not entirely clear that we would be able to get all three

  8     lawyers in time.     I just want to raise it in case this

  9     proceeds.

 10                THE COURT:    Who is Marc Waldman?

 11                MR. M. BURTON:      Marc Waldman was the CFO.

 12                THE COURT:    OK.    He was the Kimera CFO.

 13                MR. M. BURTON:      He was.

 14                THE COURT:    So then you'd want to depose him.

 15                MR. M. BURTON:      We noticed him and Kimera also noticed

 16     him.    They said that they would need potentially three and a

 17     half.    I think we would need three and a half.        But that

 18     doesn't leave any accounting for Mr. Weinberg.          I just want to

 19     make sure that all three sets of counsel get their time.

 20                THE COURT:    Now I take it, then, Ms. Hueber, he no

 21     longer works for Kimera.        Is that why you're trying to depose

 22     him?

 23                MS. HUEBER:    That's correct, your Honor.

 24                THE COURT:    Gotcha.

 25                MR. MAVRICK:    Your Honor.
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  1                THE COURT:   Yes.

  2                MR. MAVRICK:    This is Peter Mavrick.      I just wanted to

  3     mention one thing.      We actually had subpoenaed him as a

  4     deposition.    Then the plaintiff wanted to subpoena him also.

  5     He has evaded the deposition.       He's located in New York.       So he

  6     didn't respond.     We asked for documents.      He wouldn't give us

  7     any of the documents.      We called, Ms. Hueber called repeatedly.

  8     She spoke to him.     He hung up the phone.      Then she called

  9     again.    He hung up the phone.     We then subpoenaed him with

 10     duces tecum for the deposition, and he said he wouldn't give us

 11     the documents.

 12                That was for yesterday.     Everybody waited for 45

 13     minutes.    Never showed up for the deposition.        We called.   Hung

 14     up the phone again.      So we are now going to have to petition,

 15     file something in New York in the U.S. District Court there to

 16     compel compliance with that, and then we may ask that get

 17     transferred here in front of you.        But it's delayed certain

 18     things.

 19                So right now, and I told counsel beforehand, I'm not

 20     going to limit myself necessarily because it is the plaintiff

 21     that raised all these allegations about what Mr. Waldman said

 22     to her and what was said, etc.       So we need to get in those

 23     allegations that the plaintiff has raised in this case, but I

 24     don't think we are going to need more than half the time, three

 25     and a half.    Quite frankly, I doubt I will need close to that,
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  1     but I don't know.

  2               I know the plaintiff has interacted extensively after

  3     leaving the employment with Mr. Waldman because we know through

  4     all these different communications that have come out in

  5     discovery.    I just think it is premature right now to even

  6     address it because we don't know what is going to happen in the

  7     deposition.    Obviously if we are going to exceed the seven

  8     hours, we would need to stop and bring it back to the court and

  9     ask for additional time.

 10               THE COURT:    Right.    The only thing I would say is, you

 11     are absolutely right you are going to have to go through the

 12     New York judge.     I would raise this topic that both sides are

 13     seeking to depose him, because it doesn't sound like he is an

 14     affiliated witness.     If he was an affiliated witness, we

 15     wouldn't have this problem.       It sounds like he is a free agent

 16     here, and so both sides would want to depose him.

 17               It may require more than the seven hours to

 18     accommodate everybody, but I would say at this point I don't

 19     need to make any judgment on it for the reasons you said, it is

 20     premature.    I do think that the court in New York should be

 21     alerted to the need to potentially increase the amount of time.

 22     Then that way the court can deal with it or transfer it.

 23               MR. WEINBERG:     Your Honor, good afternoon.      If I could

 24     speak for one second.      John Weinberg on behalf of Mr. Jelinek.

 25               THE COURT:    Sure.    Sure.
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  1               MR. WEINBERG:     Sir.

  2               THE COURT:    Go ahead.

  3               MR. WEINBERG:     Mr. Jelinek would like to also question

  4     Mr. Waldman.    He is essential.     I anticipate Mr. Jelinek may

  5     need approximately an hour with Mr. Waldman given the nature of

  6     the many communications between the plaintiff and Mr. Waldman

  7     and how they may involve Mr. Jelinek.

  8               THE COURT:    And just so I understand, Mr. Mavrick,

  9     you're the one who actually got the subpoena served and you're

 10     the one who has jurisdiction, right?

 11               MR. MAVRICK:     Yes, although after we served our

 12     subpoena I think the plaintiff may have also subpoenaed him.

 13     I'm not sure.    I thought we saw something about that, but we

 14     have actually sent him a couple of subpoenas.

 15               THE COURT:    Do you have a subpoena on him too,

 16     Mr. Burton?

 17               MR. M. BURTON:     No.   That was never effectuated.

 18     Although Mr. Mavrick is right that we served one that he saw,

 19     but it was never served upon Mr. Waldman.         He is the only one

 20     that served Mr. Waldman.

 21               THE COURT:    Got it.    OK.   Just make that clear, then,

 22     in the case, not only do you want to depose him but other

 23     parties would like to depose him and may require more

 24     additional time.     The judge may decide to tackle it, in which

 25     case you will just have to be dependent upon what that judge
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  1     says or otherwise get transferred.

  2               MR. WEINBERG:     OK.   Thank you.

  3               THE COURT:    So you're right, technically it is

  4     premature.    The only thing I am having you do is that when you

  5     raise the topic with the New York judge disclose to them that

  6     you're not the only one seeking to have time.

  7               MR. MAVRICK:     We will do that.     Thank you.

  8               THE COURT:    OK.   All right.    All right.    Thank you all

  9     very much for your presentation.

 10               We are adjourned.

 11               (Adjourned)

 12

 13                             C E R T I F I C A T E

 14

 15            I hereby certify that the foregoing is an accurate

 16     transcription to the best of my ability of the digital audio

 17     recording in the above-entitled matter.

 18

 19     July 22, 2021              s/ Joanne Mancari
                                   Joanne Mancari, RPR, CRR, CSR
 20                                Court Reporter
                                   jemancari@gmail.com
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